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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OKLAHOMA

United States of America,
Plaintiff,
VS. Case No.: 1 1-cr-00159-CVE-2
ORDER APPOINTING COUNSEL
Clint Wesley Menzo Lawrence,
Defendant(s).

Defendant has completed an affidavit as to his/her financial ability to employ counsel. Upon
review, the Court finds that Defendant is financially unable to obtain counsel. In accordance with

the Northern District of Oklahoma Plan for Implementing the Criminal Justice Act of 1984, the
Court finds and orders as follows:

, the Federal Public Defender is appointed to represent Defendant
in all further proceedings until relieved by order of the Court.

x] Joel Vandruff , an attorney from the Court’s panel of private attorneys, established
pursuant to the Criminal Justice Act for the Northern District of Oklahoma, is appointed to
represent Defendant in all further proceedings until relieved by order of the Court.

Defendant will reimburse the government for the reasonable cost of providing
representation in accordance with his/her ability to pay as determined by further order of

$ the court.
LEEKS C

ark T. Steele, UvS>Magistrate Judge

Date: 5/22/2025

IA on Violation Supervised Release Prob Detention (9/2021)
